      Case 2:21-cv-00177-SRB Document 59-63 Filed 05/16/22 Page 1 of 1

       Case 2:21-cv-00177-SRB Document 38-8 Filed 10/18/21 Page 2 of 2




From: Mitchell, Ted <Ted.Mitchell@ed.gov>
Sent: Wednesday, October 29, 2014 7:17 PM
To: Brian Roberts <Brian.Roberts@gcu.edu>
Cc: Appel, Jeff <Jeff.Appel@ed.gov>
Subject: Re: Grand Canyon University

thanks, Brian!

Sent from my iPad

On Oct 29, 2014, at 3:51 PM, Brian Roberts <Brian.Roberts@gcu.edu> wrote:

      Dr. Mitchell, Mr. Appel – following up on our meeting last month, I wanted to provide
      you with a copy of the press release and statement that we are making today regarding
      the potential conversion of GCU back to a not-for-profit entity. Please let us know if
      you have any questions. We look forward to working with you as we move forward
      with this potential transaction.

      Brian M. Roberts
      General Counsel
      _________________________________________
      Grand Canyon University
      3300 W. Camelback Road
      Phoenix, AZ 85017
      T
      M
      F




      This message is private and confidential. If you have received it
      in error, please notify the sender and remove it from your system.
      <GCU Press Release 102914.pdf>
      <Statement - Potential Non-Profit Conversion 102914.pdf>




                                            AR-M-0001
